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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

  AIDA ELZAGALLY et al.,                )
                                        )
        Plaintiffs,                     )
                                        )
        v.                              )     1:19-cv-00853 (LMB/JFA)
                                        )
  KHALIFA HIFTER,                       )
                                        )
        Defendant.                      )
                                        )
  MUNA AL-SUYID et al.,                 )
                                        )
        Plaintiffs,                     )
                                        )
        v.                              )     1:20-cv-00170 (LMB/JFA)
                                        )
  KHALIFA HIFTER,                       )
                                        )
        Defendant.                      )
                                        )
  ALI ABDALLA HAMZA et al.,             )
                                        )
        Plaintiffs,                     )
                                        )
        v.                              )     1:20-cv-01038 (LMB/JFA)
                                        )
  KHALIFA HIFTER,                       )
                                        )
        Defendant.                      )
                                        )

          MEMORANDUM IN SUPPORT OF DEFENDANT HIFTER’S
     OBJECTION TO MAGISTRATE JUDGE PROPOSED FINDINGS OF FACT
                      AND RECOMMENDATION

        Imposing default against Mr. Hifter is too harsh a remedy when the case

  against him is based on speculation and news articles. Plaintiffs, even after their

  depositions, have failed to present any admissible evidence against Mr. Hifter, or
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  even the Libyan National Army, that would show he was responsible for the deaths

  of their loved ones. Mr. Hifter has stated under oath and in written discovery that he

  has no knowledge of the incidents alleged in the Complaint.


                                    BACKGROUND

        As highlighted in the briefs in opposition to default in the three cases, many of

  the plaintiffs have no personal knowledge of the incidents alleged in their complaints.

  Those that do lack any admissible evidence or knowledge about who was responsible

  for the alleged incidents or how their attackers were connected to the LNA or its

  command structure. See Elzagally, No. 1:19-cv-853, Dkt. No. 146; Hamza, No. 1:20-

  cv-1038, Dkt. No. 137; al-Suyid, No. 1:20-cv-170, Dkt. No. 205. The only expert, hired

  by the Hamza Plaintiffs, had no knowledge of the specific incidents, the munitions

  used, or the people involved, and his opinions would be subject to a Daubert motion.

  See Hamza, Dkt. No. 137. Indeed, contrary to the Hamza Plaintiffs’ primary theory—

  that purported “airstrikes” could only have come from the LNA because only the LNA

  had airstrike capability—their own expert testified that multiple factions in the war

  had conducted airstrikes. Of course, the Hamza Plaintiffs have presented no

  testimony or document to show that these explosions were in fact airstrikes as

  opposed to some other munition.

        Plaintiffs’ documents are no more availing than their testimony. Not only do

  they not show any evidence of how the LNA, or Mr. Hifter was responsible for specific

  incidents or deaths—for example, a death certificate showing that a person was killed




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  by gunfire does not show who fired the gun—but they have produced no witnesses

  who would even be able to authenticate or provide foundation for these documents.


                                 STANDARD OF REVIEW

         A party may object to a magistrate judge’s proposed findings and

  recommendations on a dispositive issue. Fed. R. Civ. P. 72(b). A party may serve and

  file   written   objections   to   a   magistrate   judge’s   proposed    findings   and

  recommendations, and the district court “shall make a de novo determination of those

  portions of the report or specified proposed findings or recommendations to which

  objection is made.” Switzer v. Town of Stanley, No. 5:11-cv-00021, 2012 WL 3315084,

  at *1 (W.D. Va. Aug. 10, 2012).

         The Federal Magistrate’s Act provides that “[a] judge of the court may

  reconsider any pretrial matter. . .where it has been shown that the magistrate judge’s

  order is clearly erroneous or contrary to law.” 28 U.S.C. § 636(b)(1)(A). To reach a

  determination, the district court “may also receive further evidence,” as stated in 28

  U.S.C. § 636(b)(1)(A). Wojcicki v. Aiken Technical College, 360 F.App’x. 484, 487 (4th

  Cir. 2010)(explaining that the Fourth Circuit reviews a district court’s refusal to

  accept new evidence under an abuse of discretion standard).

         A finding is clearly erroneous if “the reviewing court on the entire evidence is

  left with the definite and firm conviction that a mistake has been committed.” Bruce

  v. Harford, 21 F. Supp. 3d 590, 593-94 (E.D. Va. 2014)(quoting United States v.

  United States Gypsum Co., 333 U.S. 364, 395 (1948)). A finding is contrary to law

  “when it fails to apply or misapplies relevant statutes, case law, or rules of procedure.”

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  MeadWestvaco Corp. v. Rexam PLC, No. 1:10-cv-511, 2011 WL 2938456, at *2(E.D.

  Va. July 18, 2011)(citing United Mktg. Solutions, Inc. v. Fowler, No. 1:09-cv-1392,

  2011 WL 837112, at *2(E.D. Va. Mar. 2, 2011)). The contrary to law standard is akin

  to de novo review for questions of law. Sectek Inc. v. Diamond, 2016 WL 5897763, at

  *2. De novo review requires the court “exercise independent judgment with respect

  to the magistrate judge’s conclusions of law.” Haworth, Inc. v. Herman Miller, Inc.,

  162 F.R.D. 289, 291 (W.D. Mich. 1995). Therefore, this Court must independently

  review the factual findings of the Order for clear error and review legal conclusions

  de novo.

        Where a discovery violation has occurred, it is within the Court’s discretion to

  choose an appropriate remedy considering the totality of the circumstances. Samsung

  Elec. Co. v. Nvidia Corp., 314 F.R.D. 190, 200 (E.D. Va. 2016). The four-part test is

  (1) whether the non-complying party acted in bad faith; (2) the prejudice caused by

  non-compliance; (3) the need for deterrence; and (4) whether a less drastic sanction

  would be effective. Id. In the D.C. Circuit, when faced with default judgment in the

  context of a Torture Victims Protection (“TVPA”) case, it found that a court does not

  unquestionably accept a complaint’s unsupported allegations as true. See Kim v.

  Democratic People’s Republic of Korea, 774 F.3d 1044, 1047 (D.C. Cir. 2014).


                                     ARGUMENT

  I.    A lesser remedy than default is appropriate under the four-factor test

        The appropriate remedy in this case is something short of the drastic sanction

  of default. Plaintiffs’ allegations amount to bare assertions without admissible,

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  supporting evidence. The balance of the four factors weighs against such a harsh

  sanction. See Kim, 774 F.3d at 1047.

        Under the first factor, Mr. Hifter has not acted in bad faith. Throughout these

  proceedings, Mr. Hifter has litigated good faith and legally complex discovery

  concerns. This was not a mere “delay tactic” as suggested by the Magistrate Judge.

  While this Court ultimately granted Plaintiffs’ Motions to Compel, overruling many

  of Mr. Hifter’s objections, it did so only in part, sustaining relevancy objections to

  many discovery requests as being outside the scope of the specific incidents alleged

  in the Complaint. The pace of discovery further slowed, not because of any delay by

  Mr. Hifter, but because of the improper ex parte communication to the Court

  instigated by counsel for the al-Suyid Plaintiffs, and the subsequent stay of

  proceedings.

        Under the second factor, the prejudice to Plaintiffs is not substantial because

  their case lacks any direct evidence to begin with. Mr. Hifter has no knowledge of the

  events alleged in the Complaint, and none of the plaintiffs have any personal

  knowledge of Mr. Hifter. There is no reason to believe that Mr. Hifter’s deposition

  answers would be any different from his written statements.

        While deterrence is a legitimate concern of this Court, and there is no question

  that Mr. Hifter has caused delays to discovery due to his failure to appear at

  depositions, the deterrent effect of a sanction less than default is appropriate in this

  case, as discussed with regard to the fourth factor, the effectiveness of a less drastic

  sanction.



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        Under the fourth factor, a less drastic sanction would be effective. For example,

  Mr. Hifter could be prohibited from testifying or introducing evidence on his own

  behalf, while still being permitted to contest liability and hold Plaintiffs to their

  burden of production. Indeed, the D.C. Circuit’s opinion in Kim suggests that this

  approach would be appropriate.

        In Kim, the Plaintiffs alleged that their relative had been abducted by North

  Korea, tortured, and killed. Kim, 774 F.3d at 1049. Their allegations were supported

  by confirmed evidence that North Korean agents had planned and executed the

  abduction. Id. Two expert witnesses who provided evidence that victims of forced

  abduction by North Korea, particularly those with Kim’s political and religious

  beliefs, were subjected to torture, and expert testimony revealed that Kim died from

  starvation. Id. at 1049–51. The D.C. Circuit found Plaintiffs’ evidence to be

  “satisfactory to the court” to support default judgment, but specifically noted that if

  there had not been “confirmed evidence” tying Kim’s disappearance to North Korea,

  the outcome would likely have been different, requiring “too many logical leaps.” Id.

  at 1051. Also notable for comparison purposes: North Korea is an authoritarian

  hegemony, with no factions, no militias, and no foreign state mercenaries.

        In this case, Plaintiffs ask this Court to make far too many logical leaps. Unlike

  Kim, it is not clear who controls or commands Libya, or even specific parts of Libya.

  There is currently a parallel legislature and competing governments. Over the course

  of the Libyan civil war, there have been numerous armies, militias, factions, and




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  foreign mercenary groups fighting, with shifting coalitions, allegiances, and loyalties.

  Hamza’s purported expert testified as much.

        Plaintiffs simply cannot show that it was the LNA that was responsible for the

  alleged incidents, and even if they could, they cannot show how Mr. Hifter would have

  been legally responsible for those incidents. See Doe v. Drummond Co., 782 F.3d

  576,609 (11th Cir. 2015); see also Yousuf v. Samantar, 2012 WL 3730617, *11 (E.D.

  Va. Aug. 28, 2012) (quoting Chavez v. Carranza, 559 F.3d 486 (6th Cir. 2009)).

  Plaintiffs have not presented admissible evidence of the superior subordinate

  relationships, the knowledge of the superior, or failure of prevention or punishment.

  They have not alleged what local unit of the LNA conducted the supposed operations,

  who gave orders in those units, and what orders were given. Mr. Hifter himself is not

  a local unit commander. In this multi-faction mess of a civil war in Libya it is simply

  too much of a leap to attribute specific gunshots or explosions to the LNA, much less

  to Mr. Hifter. Plaintiffs have produced no admissible evidence and the sole expert, for

  the Hamza Plaintiffs only, lacks any reliable data or methodology to support his

  opinions. Therefore, Plaintiffs should not be awarded a default judgment under these

  circumstances.

  II.   Mr. Hifter’s political situation puts him in an untenable position

        Mr. Hifter wishes to convey his deepest respect for this Court and for U.S. law,

  but respectfully believes that this is not the proper forum to resolve issues involving

  actions that allegedly occurred in Libya, alleged by Libyans, against a Libyan citizen.

  Mr. Hifter believes that due to the explosive nature of Libyan politics, that



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  submission to questioning by foreign attorneys would be an untenable admission of

  having done something wrong in Libya. While Mr. Hifter desires to work within the

  U.S. justice system, he urges this Court to consider the international context of this

  case, and that he should not be obligated to submit to a foreign deposition in another

  country, during an ongoing conflict, particularly in the midst of a delicate peace

  process, where bad actors will take advantage of the situation, and a cascade of

  lawsuits would result.

        Mr. Hifter wishes to emphasize to this court, that while it has ruled on these

  issues previously, Mr. Hifter as Field Marshal of the LNA acted as a chief executive

  and head of state, and that he maintains immunity from any civil action in a U.S.

  court. The fact that he is a U.S. Citizen should not prejudice his rights in Libya, and

  that he should be subject to Libyan courts for these allegations. The Plaintiffs in this

  case have made no attempt to seek remedy in the Libyan court system that is the

  appropriate place for this litigation.

        Mr. Hifter is willing to work with this Court to accommodate a limited inquiry,

  limited to the events alleged in the Complaints, and with protections for Libyan

  national security. Mr. Hifter means no disrespect toward this Court, but must protect

  his country’s security, stability, and the peace process.


                                      CONCLUSION

        Default judgment in this case is far too harsh of a sanction given the totality

  of the circumstances, particularly the lack of any evidence to support Plaintiffs’ TVPA

  claim.. District courts deciding TVPA matters should not enter default judgment

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  where Plaintiffs cannot prove their case on the merits. See Kim v. Democratic

  People’s Republic of Korea, 774 F.3d 1044, 1047 (D.C. Cir. 2014). Plaintiffs, in this

  case, cannot do so. For these reasons, Mr. Hifter respectfully objects to the Findings

  and Recommendations of June 10, 2022, and asks this Court to deny Plaintiff’s

  Motion for Default Judgment.


  Dated: June 24, 2022                          Respectfully submitted,


                                                /s/ Jason C. Greaves
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                             CERTIFICATE OF SERVICE

        I certify that on June 24, 2022, a copy of the foregoing was filed with the Clerk

  of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

  of record.



                                                /s/ Jason C. Greaves
                                                Jason C. Greaves

                                                Attorney for Defendant Khalifa Hifter
